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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 IN RE:                                            §
                                                   §                  CHAPTER 11
 ALEXANDER E. JONES                                §                CASE NO. 22-33553
     Debtor                                        §

                          REQUEST FOR A STATUS CONFERENCE

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, FIRST UNITED AMERICAN COMPANIES, LLC (“FUAC”), a

party-in-interest, and requests that the Court conduct a short status conference on January 31, 2025 at

11:00 a.m., when the Court is scheduled to consider certain pending matters.

       As the Court is aware, after the Court denied the Trustee’s motion to sell the assets of Free

Speech Systems, LLC (“FSS”), FUAC made a revised offer to acquire the FSS assets for the purchase

price of $8 million, which is more than double FUAC’s original offer.

       FUAC made this offer in writing to the Trustee on December 20, 2024, over five (5) weeks

ago. Since that time, Trustee’s counsel has repeatedly stated that the Trustee was planning on filing

a motion to approve new sale procedures and for court approval to sell the FSS assets.

       However, the Trustee still has not pursued a court-supervised sales process despite the fact

that he has had FUAC’s offer in hand for over five (5) weeks. Moreover, the Trustee has not formally

accepted or rejected FUAC’s offer. FUAC’s offer is based on FSS as an on-going concern and, as

each day passes, FSS’ value is diminishing.

       FUAC respectfully requests that the Court inquire into the status of the Trustee’s plans to sell

the FSS assets at tomorrow’s 11:00 a.m. conference.
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                                                             Respectfully submitted,

                                                              /s/ Walter J. Cicack
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                                    Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document has been served
through the Court’s ECF noticing system on January 30, 2025.

                                                              /s/ Walter J. Cicack
                                                             Walter J. Cicack




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